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TIMOTHY COURCHAINE
United States Attorney

District of Arizona OMIT MAY 7 puis. a4
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Attorneys for Plaintifi
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
United States of America,
INDICTMENT
Plaintiff,
VIO: 180U.S.C. §§ 933(a)(3) and (b)
vs. (Trafficking in Firearms)
Count 1
18 U.S.C. sone) and 2
(Smuggle Goods from
Cassandra Lynn Matthews, -001 the United States, Aiding and
(Counts 1-6) Abetting)
Michael Justin Wood, -002 Count 2
(Counts 1-3)
18 U.S.C. § 924(k)(2)(B)
(Conspiracy to Smuggle Firearms
Defendants. Out of the United States)

Count 3

18 U.S.C. §§ 922(a)(6) and
eee

(Making a False Statement in
Connection with Acquisition of a
Firearm)

Counts 4-6

THE GRAND JURY CHARGES:
COUNT 1
On or about a date unknown through January 21, 2025, in the District of Arizona,
defendants CASSANDRA LYNN MATTHEWS and MICHAEL JUSTIN WOOD did

receive, attempt to receive, and conspire to receive from another person, in or otherwise

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affecting interstate or foreign commerce, firearms as listed in Counts 4-6 of the Indictment,
knowing or having reasonable cause to believe that such receipt would constitute a felony,
to wit: 18 U.S.C. § 554(a), 18 U.S.C. § 924(k)(2), and Ariz. Rev. Stat. § 13-3102.

All in violation of Title 18, United States Code, Sections 933(a)(3) and (b).

COUNT 2

On or about a date unknown through January 21, 2025, in the District of Arizona,
defendants CASSANDRA LYNN MATTHEWS and MICHAEL JUSTIN WOOD
knowingly and fraudulently exported and sent from the United States, and attempted to
export and send from the United States, any merchandise, article, or object contrary to any
law or regulation of the United States, and received, concealed, bought, sold, and in any
manner facilitated the transportation, concealment, and sale of such merchandise, article or
object, that is: firearms, as listed in Counts 4-6 of the Indictment, knowing the same to be
intended for exportation contrary to any law or regulation of the United States, to wit: Title
50, United States Code, Section 4819, and Title 15, Code of Federal Regulations, Parts
736.2, 738, and 774.

In violation of Title 18, United States Code, Sections 554(a) and 2.

COUNT 3

On or about a date unknown through January 21, 2025, in the District of Arizona,
defendants CASSANDRA LYNN MATTHEWS and MICHAEL JUSTIN WOOD did
knowingly conspire to smuggle or take out of the United States firearms, as listed in Counts
4-6 of the Indictment, with intent to engage in or to promote conduct that would constitute
a felony, to wit: Title 18, United States Code, Sections 554(a) and 2, Smuggling of Goods
from the United States, aiding and abetting.

In violation of Title 18, United States Code, Section 924(k)(2)(B).
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United States of America y. Cassandra Lynn Matthews, et al.
Indictment Page 2 of 4

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COUNTS 4-6
On or about the dates listed below, in the District of . Arizona, the defendant,
CASSANDRA LYNN WOOD, in connection with the acquisition of firearms, knowingly
made false statements and representations to the businesses listed below, which were
intended and likely to deceive the business as to a fact material to the lawfulness of a sale
of a firearm by the business, each of which was licensed under the provisions of Chapter
44 of Title 18, United States Code, with respect to information required by the provisions
of Chapter 44 of Title 18, United States Code, to be kept in the records of each business
listed below, in that the defendant, in connection with the purchase of each of the firearms
listed below, stated that she was the actual transferee/buyer of the firearm, whereas in truth
and fact, she was not the actual transferee/buyer of the firearm and she was knowingly
acquiring the firearm on behalf of another individual:
Count | Date FFL Firearms
Ruger model max-9 9x19 caliber pistol
Smith and Wesson model M & P Shield 9x19
caliber pistol
Smith and Wesson model M & P 15-22, .22
caliber rifle
Juggernaut Tactical model JT-15, receiver
Anderson Manufacturing, model AM-15,
5.56 caliber rifle
Taurus, model PT111 G2A, 9x19 caliber
pistol
Walther, model P22, .22 caliber pistol
Franklin Arms, model BOSS-25, 12-gauge
4 12/2/23 Turner’s Outdoorsman | shotgun
United States of America v. Cassandra Lynn Matthews, et al.
Indictment Page 3 of 4

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SCCY, model CPX-1, 9x19 caliber pistol

Sportsman’s

5 1/30/24 Warehouse SCCY, model CPX-2, 9x19 caliber pistol
Diamondback Taurus, model G28, 9x19 caliber pistol

6 3/11/24 Shooting Sports

In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).

TIMOTHY COURCHAINE
United States Attorney

District of Arizona

[S$]

A TRUE BILL

/[s/

JULIE A. SOTTOSANTI
Assistant U.S. Attorney

FOREPERSON OF THE GRAND JURY
Date: May 7, 2025

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